Case 6:24-cv-00187-ADA-DTG   Document 1-9   Filed 04/11/24   Page 1 of 31




                    Exhibit 9
Case 6:24-cv-00187-ADA-DTG   Document 1-9   Filed 04/11/24   Page 2 of 31
Case 6:24-cv-00187-ADA-DTG   Document 1-9   Filed 04/11/24   Page 3 of 31
Case 6:24-cv-00187-ADA-DTG   Document 1-9   Filed 04/11/24   Page 4 of 31
Case 6:24-cv-00187-ADA-DTG   Document 1-9   Filed 04/11/24   Page 5 of 31
Case 6:24-cv-00187-ADA-DTG   Document 1-9   Filed 04/11/24   Page 6 of 31
Case 6:24-cv-00187-ADA-DTG   Document 1-9   Filed 04/11/24   Page 7 of 31
Case 6:24-cv-00187-ADA-DTG   Document 1-9   Filed 04/11/24   Page 8 of 31
Case 6:24-cv-00187-ADA-DTG   Document 1-9   Filed 04/11/24   Page 9 of 31
Case 6:24-cv-00187-ADA-DTG   Document 1-9   Filed 04/11/24   Page 10 of 31
Case 6:24-cv-00187-ADA-DTG   Document 1-9   Filed 04/11/24   Page 11 of 31
Case 6:24-cv-00187-ADA-DTG   Document 1-9   Filed 04/11/24   Page 12 of 31
Case 6:24-cv-00187-ADA-DTG   Document 1-9   Filed 04/11/24   Page 13 of 31
Case 6:24-cv-00187-ADA-DTG   Document 1-9   Filed 04/11/24   Page 14 of 31
Case 6:24-cv-00187-ADA-DTG   Document 1-9   Filed 04/11/24   Page 15 of 31
Case 6:24-cv-00187-ADA-DTG   Document 1-9   Filed 04/11/24   Page 16 of 31
Case 6:24-cv-00187-ADA-DTG   Document 1-9   Filed 04/11/24   Page 17 of 31
Case 6:24-cv-00187-ADA-DTG   Document 1-9   Filed 04/11/24   Page 18 of 31
Case 6:24-cv-00187-ADA-DTG   Document 1-9   Filed 04/11/24   Page 19 of 31
Case 6:24-cv-00187-ADA-DTG   Document 1-9   Filed 04/11/24   Page 20 of 31
Case 6:24-cv-00187-ADA-DTG   Document 1-9   Filed 04/11/24   Page 21 of 31
Case 6:24-cv-00187-ADA-DTG   Document 1-9   Filed 04/11/24   Page 22 of 31
Case 6:24-cv-00187-ADA-DTG   Document 1-9   Filed 04/11/24   Page 23 of 31
Case 6:24-cv-00187-ADA-DTG   Document 1-9   Filed 04/11/24   Page 24 of 31
Case 6:24-cv-00187-ADA-DTG   Document 1-9   Filed 04/11/24   Page 25 of 31
Case 6:24-cv-00187-ADA-DTG   Document 1-9   Filed 04/11/24   Page 26 of 31
Case 6:24-cv-00187-ADA-DTG   Document 1-9   Filed 04/11/24   Page 27 of 31
Case 6:24-cv-00187-ADA-DTG   Document 1-9   Filed 04/11/24   Page 28 of 31
Case 6:24-cv-00187-ADA-DTG   Document 1-9   Filed 04/11/24   Page 29 of 31
Case 6:24-cv-00187-ADA-DTG   Document 1-9   Filed 04/11/24   Page 30 of 31
Case 6:24-cv-00187-ADA-DTG   Document 1-9   Filed 04/11/24   Page 31 of 31
